                Case 21-11026-BLS          Doc 3     Filed 07/14/21      Page 1 of 29




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re                                                   Chapter 11

CONSOLIDATED GLASS HOLDINGS,                            Case No. 21-11026 (___)
INC.,

                        Debtor.

    GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY AND
     DISCLAIMER REGARDING THE DEBTOR’S SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

               The Schedules of Assets and Liabilities (the “Schedules”) and the Statement of
Financial Affairs (the “Statement,” and collectively with the Schedules, the “Schedules and
Statement”) filed by the above-captioned debtor (the “Debtor”), in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”), have been prepared by the Debtor’s
management in accordance with section 521 of title 11 of the United States Code, 11 U.S.C.
§§ 101 et seq. (as amended, the “Bankruptcy Code”) and Federal Rule of Bankruptcy Procedure
1007, and are unaudited.

               These Global Notes and Statement of Limitations, Methodology and Disclaimer
Regarding the Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of
all the Schedules and Statement and CRO collaboration. The Global Notes should be referred to,
considered and reviewed in connection with any review of the Schedules and Statement.1

                The Schedules and Statement do not purport to represent financial statements
prepared in accordance with generally accepted accounting principles in the United States
(“GAAP”), nor are they intended to be fully reconciled with the financial statements of the
Debtor. Additionally, the Schedules and Statement contain unaudited information that is subject
to further review and potential adjustment.

               In preparing the Schedules and Statement, the Debtor relied upon information
derived from its books and records that was available at the time of such preparation. Although
the Debtor has made reasonable efforts to ensure the accuracy and completeness of such
financial information, inadvertent errors or omissions, as well as the discovery of conflicting,
revised or subsequent information, may cause material changes to the Schedules and Statement.


1
        These Global Notes are in addition to any specific notes contained in the Debtor’s Schedules and
        Statement. The fact that the Debtor has prepared a “general note” with respect to any of the
        Schedules and Statements and not to others should not be interpreted as a decision by the Debtors
        to exclude the applicability of such general note to any of the Debtors’ remaining Schedules and
        Statements, as appropriate.
               Case 21-11026-BLS         Doc 3       Filed 07/14/21   Page 2 of 29




Although reasonable efforts have been made to prepare and file complete accurate Schedules and
Statement, inadvertent errors or omissions may exist.

                The Debtor’s management prepared the Schedules and Statement with the
assistance of its advisors and other professionals. Neil Minihane has signed the Schedules and
Statement. Mr. Minihane is Chief Restructuring Officer of Consolidated Glass Holdings, Inc.,
and an authorized signatory for, the Debtor. Mr. Minihane has not (and could not have)
personally verified the accuracy of each statement and representation contained in the Schedules
and Statement, including statements and representations concerning amounts owed to creditors,
classification of such amounts and creditor addresses.

             The Schedules, Statement and Global Notes should not be relied upon by any
person for information relating to current or future financial conditions, events or
performance of the Debtor. Due to numerous unliquidated, contingent and/or disputed
claims, summary statistics in the Schedules, Statement and Global Notes are likely not an
accurate representation of the Debtor’s liabilities on a GAAP basis.

                The Debtor and its employees, agents, attorneys, and other professionals do not
guarantee or warrant the accuracy, completeness, or currentness of the data that is provided
herein and shall not be liable for any loss or injury arising out of or caused in whole or in part by
the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained herein. While
every effort has been made to provide accurate and complete information herein, inadvertent
errors or omissions may exist. The Debtor and its employees, agents, attorneys, and other
professionals expressly do not undertake any obligation to notify any third party should the
information be or need to be updated, modified, revised or recategorized. In no event shall the
Debtor or its agents, attorneys, or other professionals be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtor or damages to business
reputation, lost business or lost profits), whether foreseeable or not and however caused, even if
the Debtor or its agents, attorneys, and other professionals are advised of the possibility of such
damages.

                          Global Notes and Overview of Methodology

               1.      Reservation of Rights. Any failure to designate a claim in the Schedules
and Statement as “disputed,” “contingent” or “unliquidated” does not constitute an admission by
the Debtor that such claim or amount is not “disputed,” “contingent” or “unliquidated.” Listing a
claim does not constitute an admission of liability by the Debtor. Any specific reservation and
preservation of rights contained elsewhere in the Global Notes does not limit in any respect the
general reservation and preservation of rights contained in this paragraph.

               2.      Description of the Case and “as of” Information Date. On July 9, 2021,
(the “Petition Date”), the Debtor filed a petition with the Bankruptcy Court under chapter 7 of
the Bankruptcy Code. Unless otherwise stated, asset and liability information is as of the
Petition Date.


                                                 2
               Case 21-11026-BLS         Doc 3       Filed 07/14/21   Page 3 of 29




                 3.     Basis of Presentation. The Schedules and Statement do not purport to
represent financial statements prepared in accordance with GAAP, nor are they intended to
reconcile to the financial statements previously distributed to certain third parties. Accordingly,
the totals listed in the Schedules and Statement will likely differ, at times materially, from the
financial reports prepared by the Debtor for financial reporting purposes or otherwise.

              4.       Excluded Assets and Liabilities. The Debtor has excluded certain
categories of assets and liabilities from the Schedules and Statement. In addition, certain
immaterial assets and liabilities may have been excluded.

               5.      Insiders. For purposes of the Schedules and Statement, the Debtor defines
“insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c)
persons in control of the Debtor; (d) relatives of directors, officers, or persons in control of the
Debtor; and (e) affiliates. Persons listed as “insiders” have been included for informational
purposes only, and including them in the Schedules and Statement shall not constitute an
admission that those persons are insiders for purposes of section 101(31) of the Bankruptcy
Code.

                The Debtor does not take any position with respect to: (a) such person’s influence
over the control of the Debtor; (b) the management responsibilities or functions of such
individual; (c) the decision-making or corporate authority of such individual; or (d) whether such
individual could successfully argue that he or she is not an “insider” under applicable law,
including the federal securities laws and section 101(31) of the Bankruptcy Code, or with respect
to any theories of liability or for any other purpose.

                6.    Material Executory Contracts and Unexpired Leases. Nothing contained
in or omitted from the Schedules and Statement is or shall be construed as an admission as to the
determination of the legal status of any contract or lease, including whether any lease is a true
lease or a financing arrangement, whether such contract or lease is an executory contract or
unexpired lease, or whether such contract or lease is binding, valid and enforceable.

               While every effort has been made to ensure the completeness and accuracy of the
listing of material executory contracts, inadvertent errors or omissions may have occurred. The
contracts, agreements and leases listed on Schedule G may have expired or may have been
modified, amended, or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters and other documents, instruments and agreements which
may not be listed therein. Such rights, powers, duties and obligations are not set forth on
Schedule G. Certain of the executory agreements may not have been memorialized and could be
subject to dispute. The absence of a contract or agreement on Schedule G does not constitute an
admission that any other contract or agreement to which a Debtor is a party is not executory.

              7.      Classifications. Listing a claim on (a) Schedule D as “secured,” (b)
Schedules E/F, Part 1 as “priority,” (c) Schedules E/F, Part 2 as “unsecured,” or Schedule G as
“executory” or “unexpired,” does not constitute an admission by the Debtor of the legal rights of
the claimant.



                                                 3
               Case 21-11026-BLS          Doc 3       Filed 07/14/21    Page 4 of 29




               8.      Claims Description. Schedules D and E/F permit the Debtor to designate
a claim as “disputed,” “contingent” and/or “unliquidated.” Any failure to designate a claim on a
given schedule as “disputed,” “contingent” and/or “unliquidated” does not constitute an
admission by the Debtor that such amount is not “disputed,” “contingent” and/or “unliquidated,”
or that such claim is not subject to objection. Moreover, listing a claim does not constitute
admission of liability by the Debtor.

                9.      Secured Claims. Secured claim amounts have been listed on Schedule D
without regard to the value of assets secured thereby. No attempt was made by the Debtor to
estimate the fair market value of assets pledged pursuant to any secured obligation as of the
Petition Date. Accordingly, deficiency claims of secured creditors were not listed on Schedule F
and such omission is not an admission by the Debtor as to the sufficiency of collateral related to
any secured claim listed on Schedule D. In certain instances, the Debtor may be a co-obligor,
co-mortgagor or guarantor with respect to scheduled claims of other Debtors or non-Debtors, and
no claim set forth on Schedule D of the Debtor is intended to acknowledge claims of creditors
that are otherwise satisfied or discharged by other entities. The descriptions provided in
Schedule D are intended only to be a summary. Reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent
and priority of any liens.

                 10.     Causes of Action. Despite its reasonable efforts to identify all known
assets, the Debtor may not have identified and/or listed as assets in the Schedules and Statement
all of its causes of action or potential causes of action against third parties (and in particular have
not identified or listed causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code and any other relevant nonbankruptcy laws to recover assets or avoid
transfers).

              11.    Summary of Significant Reporting Policies. The following conventions
were adopted by the Debtor in the preparation of the Schedules and Statement:

                      (a)     Book Value. Unless otherwise noted, each asset and liability of
       the Debtor is shown on the basis of the net book value of the asset or liability in
       accordance with the Debtor’s accounting and/or tax books and records as of the Petition
       Date, and is not based upon any estimate of their current market values.

                     (b)    Cash. Any cash balances in the Debtor’s bank accounts set forth in
       Schedule B are based on the book balance as of the Petition Date.

                       (c)   Liens and Encumbrances on Assets. As of the Petition Date,
       except as reflected on Schedule D (secured claims), the Debtor was not aware of any
       material liens or encumbrances filed against assets directly owned by the Debtor.

                    (d)  Undetermined Amounts. The description of any amounts as
       “unknown,” “TBD” or “undetermined” is not intended to reflect upon the materiality of
       such amount.



                                                  4
              Case 21-11026-BLS         Doc 3       Filed 07/14/21   Page 5 of 29




                 12.     Notes to Specific Schedules. The following are items the Debtor notes as
it pertains to specific questions or parts in the Schedules:

                      (a)     Schedules A/B: Questions 6, 7 and 8. The Debtor has excluded
       retainers provided to professionals.

                       (b)     Schedule A/B: Questions 74 & 75. The Debtor may have accrued,
       or may subsequently accrue, certain rights to counter-claims, setoffs, refunds or other
       claims. Because such claims are unknown to the Debtor and not quantifiable as of the
       Petition Date, they are not listed on Schedule A/B 74 or 75. The Debtor’s failure to list
       any contingent and/or unliquidated claim held by the Debtor in response to these
       questions is not an admission that such cause of action, claim, or right does not exist, and
       should not be construed as a waiver, release, relinquishment, or forfeiture of such cause
       of action, claim, or right.

                     (c)      Schedules E/F: Part 2. Schedule E/F does not include any
       intercompany liabilities owed to any debtor or non-debtor affiliates.

                13.    Notes to the Statement. The following are items the Debtor notes as it
pertains to specific questions or parts in the Statement:

                       (a)   Part 2: Question 3. Due to the substantial number of payments and
       burden to the Debtor to list such payments, the Debtor has omitted compensation paid to
       its individual employees in the ordinary course of business during the 90 days prior to the
       Petition Date.

                      The “reason for payment” identified is based on the Debtor’s internal
       category assignment for the charge.

                     (b)    Part 3: Question 7. The Debtor has listed legal actions and
       proceedings that were commenced prepetition, but has omitted threatened litigation that
       was not commenced.

                      (c)     Part 13: Question 26d. The Debtor has listed all parties to whom
       the Debtor issued a financial statement within two years before the Petition Date except
       for those issued a financial statement in connection with a sale of substantially all, or a
       material portion, of the Debtor’s assets that the Debtor is not permitted to disclose under
       a non-disclosure agreement.

               14.     Global Notes Control. In the event that the Schedules and Statement
differ from the foregoing Global Notes, the Global Notes shall control.




                                                5
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 6 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 7 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 8 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 9 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 10 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 11 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 12 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 13 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 14 of 29
                  Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 15 of 29




                              6968245D2 5E689F5G9H55
                             I4 45JKL5M 4 8695N5J 2349
 0    1234567589 8 869     45675269 2 559883564752695  495289445647545465
    !"#$%&'$(%)*     +,-./,#0#$!               123                    4555
                                                                      600$78#9%:.$9,
;    !"#$%&'$(%)*       <=#/'!$7                1>?                  4;>@555
                                                                      600$78#9%:.$9,
    !"#$%&'$(%)*      AAA%B6$#,%               ?>2                    4555
                            C#7/#7'!6$                                600$78#9%:.$9,
          Case 21-11026-BLS     Doc 3   Filed 07/14/21   Page 16 of 29


                        939682S3396T3U4V
                       W4X22YZ[23869\Y884X28

 0         1234567869 29925             5528 29128953825238
          !"#$%#&!'#()                          -./.....
               *+$()!,#%(
             !"#$%#&!'#()
  0$1)%!2&3!%(!)415!61!)&67%()83!              -</.....
           (%1(!16!09:!$1&%4;
 =          015()!>4>#21(                              -/<.
                 ?@#&!,#%(
 A         B%)2!9!'2%&&%$)!??'                        -/CD..
                 ?@#&!,#%(
     E1(%@/!:&)(/!F#;&1/!G421(6&3!9!
 <               H#33%)!'"                              -</C<<.
                 ?@#&!,#%(
C >4"#I/!J     %)I@!9!"1(5#;/!??"
                 ?@#&!,#%(                            -/D<...
D >1%)/!K%42?1&)/!)2!9!F8((&&!??'
                    @#&!,#%(                           -L/D.A..
      G2N#(/!G%&O)%(/!E12&/!,1)!9!
 M            '131&)P;/!'                            -=/=DM<.
                 ?@#&!,#%(
 L              G%()1(!??'                               -</DC..
                 ?@#&!,#%(!
.       F8(!J1P)!??"!Q",:R                           -=M/.....
                    ,#%(
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 17 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 18 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 19 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 20 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 21 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 22 of 29
                                          Case 21-11026-BLS      Doc 3     Filed 07/14/21     Page 23 of 29


                                                              179754634`99a7459bcd
                                                              "343efgh 26i66" 36
                                               63724639  965569
 0     1234567289 3 4 55442399           436 9 776 176536 554634 59634 3936667 ! 959726"315    76715
                                               52234      32
                  &''()*+,)-./001
#$%       2234/5677-)89-:*/;)9<-./=697-/2#4    4#D2ED242%                                                          F-G*()         H2.I##$CC
                   >)(?./@A/BC4CB
                  5,))?/5:6J-G8-:*
#$2             #E2I&/&*-:,9*-/;)9<-           #D2ID242%                  M           M         M                 0979N,79(G     OG:9P69*,7-*
               @(6G7/0,6)-:./KL/4C43B
           1$0$/K((G,G/1(G7,9G-)/=-)<9'-
#$#                  Q$R$/5(M/B44              BDUD242%                   M           M         M                 0979N,79(G      H#E.II%$B4
            +-S7/5)9*N-T,7-)./@&/42#UI
                    1V:9'W/1V9',N(
#$B        3BUE/1(::-'79(GS/1-G7-)/;)9<-        F,)9(6S                   M                                        F-G*()         H%2.CC3$3I
                  1V9',N(./A0/E4EI#
                        19NG,
#$3             &77GX/1,G*,'-/Y,9G-S            F,)9(6S                                                            F-G*()         HE.%CB$44
                  Q$R$/5(M/EBB3BE
                 Q977SZ6)N./Q&/%32EB
#$E               19G7,S/1()[(),79(G/           F,)9(6S                   M           M         M                 0979N,79(G      H#U.BE#$23
         I3/@9:7(G/;)9<-./&SV7(G./Q&/%I#%B
               1(JJ(GT-,:7V/(8/@&
        &77GX/=-')-7,)?/(8/7V-/1(JJ(GT-,:7V
#$U              1()[(),7-/;9<9S9(G             F,)9(6S                                                            F-G*()          HCU3$44
           %/&SVZ6)7(G/Q:,'-./\((J/%U%U
                 5(S7(G./@&/42%4C
                 1)-,79<-/Q)9G7/1)-T
#$C             %%%I/\('V-S7-)/\(,*            %D23D242%                                                           F-G*()          HI%$I4
                   >)(?./@A/BC4C#
            1]-'V/&SS-7/@,G,N-J-G7/0Q
#$I        %U44/^$/Q67G,J/&<-$./OG97/24U        F,)9(6S                                                            F-G*()        H%2I.I2I$32
              R:*/Y)--GT9'V./1>/4ECU4
                      ;,<9*/L(G-S
#$%4              #E/@,NG(:9,/0,G-             %D%ED24%I                                                           F-G*()          H%C%$2E
               1-*,)/Y)(<-./KL/4U44I
               ;('6J-G7/1(G'-[7S/AG'$
#$%%              %4B4/@,G76,/Q9_-             %D2%D242%                                                           F-G*()          HB4%$CC
                 +-G(G,V./KL//4C4I4
              ^<-)-S7/K,79(G,:/AGS6),G'-
#$%2                 Q$R$/5(M/BII              %DID242%                   M                                        F-G*()        H%%#.4#U$UU
               K-T,)_./KL/4U%4%W4BII
                                                Case 21-11026-BLS            Doc 3     Filed 07/14/21     Page 24 of 29


                                                           63724639  965569
 0        1234567289 3 4 55442399                    436 9 776 176536 554634 59634 3936667 ! 959726"315    76715
                                                           52234      32
                    &'()'(*+,-./0(12/*+,3
#$%#               %456*7$8$*91:;<'=*#55*                  #J55J5D5%                 B           B          B                  K101:'01A,    L5CDFCM5$I5
                         >$?$*@AB*C4D
                    8<2-2/EA(AF*GH*DIDI6
                          &N2,*OAP,'(
#$%C                   5%Q4*R.'1N*80(220                   #J5MJ5D5%                 B           B          B                  K101:'01A,    7,N1T.1-'02-
                     S1,2N',-F*GH*DI#4%
                &(2=*UA.,0'1,*>'(0,2(/F*KKV
#$%6             %CQD*O'N,.0*80$F*8.102*CDD                 S'(1A./                                                            S2,-A(        LCFM6QFCD6$6#
                     @A.N-2(F*V?*ID#D5
                +,WN2301A,*X1/Y*8AN.01A,/*KKV
#$%4                    -JEJ'*&AA-91(2                     %J#%J5D5%                                                           S2,-A(           L46$ID
             666*Z<1,*[AN\;1,*[(1]2F*8.102*4#D
                  X2-<AA-*V10=F*V^**MCD46
       +,02(,'01A,'N*>'1,02(/*_*^NN12-*Z('-2/*+,-./0(=*
                         >2,/1A,*`.,-
#$%Q                ^00,a*Z1)*[$*U'10N',-                  CJ%5J5D5%                 B           B          B                  K101:'01A,    L%#%FQM4$%M
                     Q5#C*>'(Y<'=*[(1]2
                     9',A]2(F*U[*5%DQ4
       +,02(,'01A,'N*7,1A,*AW*>'1,02(/*_*^NN12-*Z('-2/*
              [1/0(130*VA.,31N*5%*O2NW'(2*`.,-
#$%I                 ^00,a*HA/2\;*^/;-'N2                  CJ%5J5D5%                 B           B          B                  K101:'01A,    L%#%FQM4$%M
              5MID*8A.0;')\0A,b@=E2((=*XA'-
                   >;1N'-2N\;1'F*>^*%M%6C
                         H2(2)=*[']1/
#$%M                #5D*>'(Y*80(220*8A.0;                  QJ54J5D%M                                                           S2,-A(           L46$I4
                  80$*>202(/E.(:F*`K*##QDQ
                          U'(Y2083'N2
#$5D              MD%*U'1,*80(220F*802*6#DD                %J5DJ5D5%                                                           S2,-A(         L5FMI#$##
                    ['NN'/F*Zc*Q65D5#QDD
                 U'(/;*_*U3K2,,',*^:2,3=
#$5%         Q66*O$*@1:*@2']2(*X-F*8.102*5#DD               S'(1A./                                                            S2,-A(         L%6FII6$56
                        Z(A=F*U+*CIDIC
                U1NN2(*^.0A*K2'/1,:*VA)\',=
#$55                     %I5C*XA.02*#I                      S'(1A./                                                            S2,-A(          L6ID$I4
                    K.)E2(0A,F*GH*DIDCI
            U10/.1*8.)10A)A*+,/.(',32*VA)\',=
#$5#           %6%CM*VANN2301A,/*V2,02(*[(1]2              5J%J5D5%                  B                                         S2,-A(         L65F#6Q$%#
                      V;13':AF*+K*4D4M#
           G2<*dA(Y*80'02*[2\'(0)2,0*AW*X2]2,.2
#$5C                        VA(\bS                         MJ%6J5D%4                                                           S2,-A(          L5M#$DD
                        >$?$*@AB*%6%4#
                   ^NE',=F*Gd*%55%5b6%4#
            G1//',*UA0A(*^332\0',32*VA(\A('01A,
#$56                   >$?$*@AB*QCD6M4                      S'(1A./                                                            S2,-A(         L#F%CD$%5
                 V1,31,,'01F*?9*C65QCbD6M4
                                            Case 21-11026-BLS        Doc 3     Filed 07/14/21     Page 25 of 29


                                                   63724639  965569
 0     1234567289 3 4 55442399               436 9 776 176536 554634 59634 3936667 ! 959726"315    76715
                                                   52234      32
       '(()*)+,-(./0-1+20.-(3045+2-(647.18+9)7$
#$%&               :;<+=01.+>.-00.                 :IGI%A%;                  @           @          @                 JB.BC*.B()      K;:8#%;$LH
                    2$?$+,(@+:AA
           =01.+,-B6C0D*.0-8+EF+A%#GH
           >.*.0+M(-N(-*.B()+M(55B11B()
#$%G             F..)O+M30-PQ1+?RRB70              ;I;HI%A%;                                                           S0)6(-          K<A$AA
                   2$?$+,(@+G&AG
             E0--BRB0368+SF+%%;;&TG&AG
                   >4N0-B(-+SB1B()
#$%L      MI(+>4N0-B(-+SB1B()+>0-UB7018+9)7$       #I;I%A%;                                                            S0)6(-          KG%$&%
                  2$?$+,(@+%A;L#H
                  V*33*18+WX+G<#%A
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 26 of 29
Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 27 of 29
                                             Case 21-11026-BLS        Doc 3        Filed 07/14/21            Page 28 of 29


                                                                    122364388V23W8XY
                                                                          4348V866 46
 0                      1234562789 4                               83374                               174362789 4                    4348 4348 4348
   !"#$%&' ##()*%&!'+"%!,%-.'/),"*01'2*3"%1%0%-'44   55'6'7&18%-.0-'90)((0                  9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                             : *;<&!!='>?'@A5B@                  9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
              -1!%,&0(,'J!&11'K !,%-.1='H-*               'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 P           I!"$&;'9Q(*%&!0L'J!&11' )Q)&0%-                'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 R                     J22J='44                         'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                  9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 A                      J9J:/='44                           'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 O          K&<;%-1'2)*8%0(*0")&!'/),"*01='44               'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 @             H-1"!Q&-('E' --(*0%*"0='H-*                 'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 B                  C6'+();<%0S='4/'                     'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
 T                  N29J'K !,%-.1'H-*                        'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
5               98&<'J!&11'K !,%-.1='44                     AA'+)%10!'I)%M(                      9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                 ,U$U&'9!&)'9(&!'F&11&*8"1(001              9"08'6&10-='F2'5P@A                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
            99H' -1!%,&0(,'K !,%-.1='H-*'                'J&0(<&L'+!M,                       9C'DEE18)('F&10()'G"-,'HHH='4/         ?
                                                            /(,)%*;0<-='NC'5B5O@                 9C'D-18)('I%)(*0'4(-,%-.'G"-,'HHH='4/
    Case 21-11026-BLS   Doc 3   Filed 07/14/21   Page 29 of 29




  21-11026




07/14/2021
